                                                                United States Bankruptcy Court
                                                                Middle District of Pennsylvania
In re:                                                                                                                   Case No. 23-00988-HWV
Uptown Partners, LP                                                                                                      Chapter 11
       Debtor
                                                      CERTIFICATE OF NOTICE
District/off: 0314-1                                                    User: AutoDocke                                                             Page 1 of 2
Date Rcvd: Oct 10, 2023                                                 Form ID: pdf010                                                            Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                  Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                   regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Oct 12, 2023:
Recip ID                  Recipient Name and Address
                        + Kara K Gendron Esq, Mott & Gendron Law, 125 State Street, Harrisburg, PA 17101-1025

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                        BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                       NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Oct 12, 2023                                             Signature:            /s/Gustava Winters




                                    CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on October 10, 2023 at the address(es) listed
below:
Name                                Email Address
Barry A. Solodky
                                    on behalf of Creditor Landex Management bso@saxtonstump.com msf@saxtonstump.com

Clayton W Davidson
                                    on behalf of Creditor City of Harrisburg cdavidson@mwn.com ctran@mcneeslaw.com

Clayton W Davidson
                                    on behalf of Creditor The Harrisburg Redevelopment Authority cdavidson@mwn.com ctran@mcneeslaw.com

Gregory Benjamin Schiller
                                    on behalf of Asst. U.S. Trustee United States Trustee Gregory.B.Schiller@usdoj.gov ustpregion03.ha.ecf@usdoj.gov

Jenna Anne Ratica
                                    on behalf of Interested Party Commonwealth of Pennsylvania Office of Attorney General jratica@attorneygeneral.gov,
                                    ARC-Court-MiddleDistrict@attorneygeneral.gov

Kara Katherine Gendron




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District/off: 0314-1                                       User: AutoDocke                                                        Page 2 of 2
Date Rcvd: Oct 10, 2023                                    Form ID: pdf010                                                       Total Noticed: 1
                          on behalf of Trustee Kara Katherine Gendron
                          karagendronecf@gmail.com;doriemott@aol.com;bethsnyderecf@gmail.com;mottgendronecf@gmail.com;ecf.mottgendron@gmai
                          l.com;MottGendronLaw@jubileebk.net

Lauren A. Michaels
                          on behalf of Interested Party Commonwealth of Pennsylvania Office of Attorney General lmichaels@attorneygeneral.gov

Marielle Macher
                          on behalf of Creditor Anita Hall mmacher@cjplaw.org

Marielle Macher
                          on behalf of Interested Party Monique Bryant mmacher@cjplaw.org

Robert E Chernicoff
                          on behalf of Debtor 1 Uptown Partners LP rec@cclawpc.com,
                          jbartley@cclawpc.com;jlaughman@cclawpc.com;jkj@cclawpc.com

Suzanne P. Conaboy
                          on behalf of Interested Party United States Department of Housing & Urban Development Suzanne.Scanlon@usdoj.gov
                          bethany.a.haase@usdoj.gov

United States Trustee
                          ustpregion03.ha.ecf@usdoj.gov


TOTAL: 12




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                          UNITED STATES BANKRUPTCY COURT
                      FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

   IN RE:                                         : No. 1:23-bk-00988-HWV
      UPTOWN PARTNERS, LP d/b/a                   :
      Residences at Governor’s Square,            :     Chapter 11
      a/k/a Governor’s Square Apartments          :

                                               ORDER

         Upon FRQVLGHUDWLRQ RI the Application of Uptown Partners, LP (“Debtor”) to employ

  Hilco Real Estate, LLC (“Hilco”) as Real Estate Agents 'RF  and Notice thereon having

  been filed with this Court and served upon all creditors and parties-in-interest, it is

         ORD(RED that:

                 a.      the Application to Employ as a real estate broker is approved:

                 b.     the Debtor is hereby granted the authority to employ Hilco as its real estate
         agent to market and sell the Debtor’s real property under the terms and conditions set forth
         in Hilco’s Agreement and the Application except as modified by this Order;

                  c.   the proposed fee structure set forth in Hilco’s Application and Agreement
         is amended as follows: If the City of Harrisburg, the Harrisburg Redevelopment Authority,
         the Harrisburg Housing Authority or any other government agency, partner or
         instrumentality any local government entity, the Commonwealth of Pennsylvania or the
         United States of America (collectively the “Governmental Buyer”) and/or Woda Cooper
         Companies, Inc., or a related entity (“Woda”) is the purchaser, or transferee, of all or any
         part of the Debtor’s real property, then no commission is due and owing to Hilco by the
         Governmental Buyer or Woda. If an offer accepted by the Debtor and proposed to the
         Court in a Motion (the “Original Offer”) for the transfer or sale of the Debtor’s Real
         Property is from a third party, and is not from a Governmental Buyer or Woda, and such
         offer is approved by the court, then Hilco shall be entitled to a full commission from said
         third party buyer provided such buyer is not another government entity or a Government
         Buyer. Any increase in the consideration from the original sale agreement in Woda’s
         approved sale agreement would cause Woda to owe a commission calculated on the
         increased consideration over the Original Woda contract consideration. Any such
         commission on the increased consideration to Woda or on a sale to a non-Governmental
         Buyer, shall be charged and payable as a buyer’s premium. A full commission is payable
         to Hilco if there is a sale to a party other than a Governmental Buyer or Woda which
         commission would be charged and payable as a buyer’s premium. The Debtor is not paying
         any commission and is not obligated for any commission on a sale of the Real Property.




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